






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-091 CR


____________________



JAYLAN ROCHARD WILLIAMS, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 93238






MEMORANDUM OPINION


	Jaylan Rochard Williams was convicted and sentenced on an indictment for
possession of a controlled substance.  Williams filed a notice of appeal on February 13, 2007. 
The trial court entered a certification of the defendant's right to appeal in which the court
certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex.
R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court of
Appeals by the district clerk.


	On February 14, 2007, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d).
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.


							_____________________________

								HOLLIS HORTON

									  Justice


Opinion Delivered March 21, 2007

Do Not Publish


Before McKeithen, C.J., Gaultney and Horton, JJ.


